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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL DOCKET NO. 1657
PRODUCTS LIABILITY LITIGATION

SECTION L
THIS RELATES TO: JUDGE FALLON

Mary R. Dalrymple, et al. v. Merck & Co
Docket Number: 07-3159

MAGISTRATE JUDGE KNOWLES

ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that all claims of plaintiff Mary R. Dalrymple in the above-
captioned case be and they hereby are dismissed with prejudice, each party to bear his or her

own costs and attorney’s fees.

NEW ORLEANS, LOUISIANA, this day of , 2007,

DISTRICT JUDGE

ROGERS 8. WILSON
Attorney at Law

918 North Yakima
ORDER OF DISMISSAL WITH PREJUDICE Tacoma, Washington 98403

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